Case 1:18-cv-02844-RDB Document 318 Filed 07/07/20 Page 1of 8

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

SECURITIES AND EXCHANGE COMMISSION *

v. * Civ. No. RDB 18-2844
KEVIN MERRILL, ET AL. *

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* * * * * * * # * * * x

MOTION FOR A TELEPHONIC STATUS CONFERENCE AND FOR THE RELEASE OF
CERTAIN PROPERTY TO RELIEF DEFENDANT AMANDA MERRILL

Relief Defendant Amanda Merrill, through undersigned counsel, Robert W. Biddle,
Nathans & Biddle, LLP, hereby provides this Motion for a status conference and for the release of
certain property, requesting this Court direct the Receiver in this case to release to Ms. Merrill
within 5 business days of the date of the entry of the attached order, a variety of seized personal
property identified below. This Motion is permitted pursuant to the stay order in this case, ECF
#42, filed on October 25, 2018, as by its express language, “the receivership, any order related to
the receivership, and all powers granted to the Receiver shall remain in full force and effect.” The
Motion seeks an order relating to the receivership.

The property to be released includes women’s clothing, coats, and shoes, which were
seized from Amanda Merrill when she was removed from her and her husband Kevin Merrill’s
home located at 1848 Circle Road, Towson, Maryland, on December 11, 2018, as well as other
property such as furniture seized from the Circle Road and Easton residences.

In brief summary, Ms. Merrill by counsel contends that this requested relief is in the
interests of justice, entered with consideration of her interest in the property sought to be released,

and is the best option available for expeditious monetization of other more valuable receivership

 
Case 1:18-cv-02844-RDB Document 318 Filed 07/07/20 Page 2 of 8

assets, including expenses for the receivership. Furniture has not been included in the proposed
but not completed sale of Circle Road or in the completed sale of the Easton property. See ECF
#153-1 (“purchase price [for Circle Road] does not include the furniture”); #199-2 (item#13 —
‘Gncluded in the purchase price are all permanently attached fixtures”). With the furniture unsold,
uncertainty and disruption caused by Covid-19 in the market for auctioning or selling used clothing
and shoes, including uncertainty as to how long the disruptions will last, combined with continued
storage costs for all the seized items, some of which are arguably not “luxury” items, releasing
furniture selected by Ms. Merrill identified in Ex. 1 or otherwise held by the Receiver, and
releasing her clothing, coats, and shoes to her as promptly as possible is the appropriate course of
action at this time.

As stated in the Initial Preservation Plan ECF #54 filed by the Receiver on November 13,
2018, the Receiver seeks expeditious monetization of Receivership assets, to minimize holding
and maintenance costs, to minimize a reduction in value of assets due to their age, and to reduce
the time period for other adverse actions to take place which would reduce the value of
Receivership assets. That plan stated at pp. 9 — 10 that the “Receiver believes that liquidating all
estate assets promptly, efficiently, and at market prices is in the best interest of all parties.” The
Third Receiver’s Report, ECF #177, filed on July 30, 2019, almost a year ago, specifically
referenced Ms. Merrill’s clothing and shoes and their storage costs as a significant factor for the
Receivership Estate. In that Report, the Receiver acknowledged that Ms. Merrill consented to the
sale of a vessel and real estate, and referred to communications on her behalf by counsel over the
disposition of other property. “However Amanda Merrill has not consented to the sale of any

furniture, clothing, or other personal property located at the Circle Road Property ... As a result,

 
Case 1:18-cv-02844-RDB Document 318 Filed 07/07/20 Page 3 of 8

the Receivership Estate will incur significant costs to pack, move and store the furniture and other
personal property currently located in the Circle Road property.”

Of course, since the Third Receiver’s Report, counsel for the Receiver and Ms. Merrill
agreed on the release of jewelry, see ECF #272, 272-1, filed January 24, 2020, and Ms. Merrill has
not contested the sale of many handbags, watches, vehicles, and other items. However no
agreement has been reached regarding the disposition of her shoes and clothes, No notice has been
filed with this Court by the Receiver identifying a contract with any vendor to sell some or all of
Ms. Merrill’s clothes and shoes. Thus, it appears there is no immediate plan to monetize these
assets by the Receiver. The Receiver had apparently expected to contract with a vendor by now to
sell clothes and shoes as it informed this Court in the First Receiver’s Report ECF #99 filed on
January 30, 2019, that “the Receiver team has also identified outlets and sale strategies for the
lower end but still luxury goods [other than art, collectibles, jewelry, rare wines, watches and
luggage] which will also be the subject of a retention and sale procedures motion to be filed with
the Court within the next thirty days.”

Thus, in the period following January 2019, storage costs referenced by the Receiver in its
Third Report ECF #177 continue to accumulate, furthermore the circumstances indicate that the
coronavirus shutdowns appear to have impacted efforts to dispose of the clothes and shoes in a
profitable fashion for the Receivership Estate. Under these circumstances, returning Ms. Merrill’s
clothes and shoes to her appears to undersigned counsel the best course of action under the
circumstances.

By way of further background, counsel for Ms. Merrill states as follows.

 
Case 1:18-cv-02844-RDB Document 318 Filed 07/07/20 Page 4 of 8

1, The Initial Complaint in this case was initially filed against Kevin Merrill, Jay
Ledford, and Cameron Jezierski on September 13, 2018. The Receiver was appointed and a TRO,
ECF #9, was entered that same day, September 13, 2018.

2. An Amended Complaint was filed on November 6, 2018, adding Ms. Merrill, Kevin
Merrill’s wife, as a relief defendant.

3. On December 11, 2018, Ms. Merrill was arrested for violating the TRO with her
husband, and was removed from Circle Road pursuant to the release order in the criminal case.
The Receiver took control of Circle Road almost immediately, which included gaining possession
of Ms. Merrill’s and her childrens’ personal belongings of all types. The Amended Receivership
Order was filed on November 27, 2018, ECF #62, and directed the Receiver to marshal and
preserve assets held by Ms. Merrill which were “acquired, either directly or indirectly, using such
funds” “fraudulently obtained by investors.” The Receiver has been granted latitude by this Court
so far in the selection and administration of seized assets to decide what assets to seize and to sell,
pursuant to a court order, or release. Some assets have been released, others addressed in this
Motion have not been released.

4. Pursuant to the release order in the criminal case, a very limited quantity of clothes,
shoes, and other personal items belonging to Ms. Merrill and her children were released by the
Receiver from Circle Road on December 12, 2018. Further limited quantities of clothing, coats,
and shoes, were returned to Ms. Merrill by the Receiver from Circle Road on February 26, 2019.
No clothes or shoes have been released by the Receiver to Ms. Merrill since that date.

5. Over the past 18 months, the Receiver has been liquidating assets belonging to the
Defendants and Relief Defendant Ms. Merrill. The Receiver has provided this Court with reports

regarding its operations including assets sales, see ECF #99 (Report #1 filed January 30, 2019,

 
Case 1:18-cv-02844-RDB Document 318 Filed 07/07/20 Page 5of8

ECF # 138 (Report #2 filed April 30, 2019), ECF #177 (Report #3 filed on July 30, 2019), ECF
#230 (Report #4 filed on October 30, 2019), ECF # 273,( Report #5 filed on January 31, 2019),
and ECF #291 (Report #6 filed April 30, 2020). Report #3 specifically addressed Ms. Merrill’s
shoes and clothing obtained by the Receiver when she vacated the Circle Road residence on
December 11, 2018, and referenced the burdensome cost of storing the items awaiting their sale.
Other items were apparently more important to address given their high dollar value and potential
to significantly enhance the value of the Receivership Estate, As of the end of March 2020, the
Receiver had over $28 million in cash on hand awaiting distribution, ECF #291 at p. 7. In the
course of its administration, the Receiver has obtained permission to sell real property, vehicles,
boats, jewelry, and other items of personal property, in some of which Ms. Merrill had a potential
ownership interest. Ms. Merrill consented to the sale of a voluminous value of property to date in
this case. Some of the motions and notices for the sale of property in this case (a non-exhaustive
list), which have been pursued by the Receiver to date, including Merrill and/or Ledford properties,
include the following:

a. On July 10, 2019, this Court granted the Receiver’s motion to sell a 350 Crossover
Bowrider Port Cruiser boat (ECF #154).

b. On July 10, 2019, this Court granted the Receiver’s motion to sell the 1848 Circle
Road, Towson, Maryland, 21204, residence (ECF #155),

c. On July 12, 2019, this Court granted the Receiver’s motion to sell the residence at
1055 Spyglass Lane, Naples, Florida, 34102 (ECF #157).

d. On July 23, 2019, this Court granted the Receiver’s motion to sell the residence at
1718 Greenspring Valley Road, Stevenson, Maryland, 21153 (ECF #166),

e. On July 29, 2019, this Court granted the Receiver’s motion to sell the residence at
531 Hampton Lane, Towson, Maryland, 21286 (ECF #172).

f. On August 2, 2019, this Court granted the Receiver’s motion to sell the residence
at 3018 Susanne Court, Owings Mills, Maryland, 21117 (ECF #183).

g. On July 26, 2019, Notices were filed by the Receiver to sell vehicles including a
2017 Rolls Royce Wraith Coupe, 2018 Cadillac Escalade, a 2017 Land Rover
Range Rover, and a 2017 Lamborghini (ECF #168-171).

h. On August 26, 2019, this Court granted the Receiver’s motion to sell the residence
at 27776 Sharp Road, Easton, Maryland, 21601 (ECF #202).

 
Case 1:18-cv-02844-RDB Document 318 Filed 07/07/20 Page 6 of 8

i, On September 13, 2019, Notices were filed by the Receiver to sell vehicles
including a 2008 Bugatti Veyron and a 2017 Land Rover Range Rover (ECF #212
& 213).

j. On November 11, 2019, Notices were filed by the Receiver to sell a 2015 BMW
51000R Motorcycle, a 2018 Lamborghini Huracan, and a 2016 Ducati Scrambler
(ECF #232, 233 & 234).

k. On November 20, 2019, a Notice was filed by the Receiver to sell a 2016 Mercedes
Benz Sprinter 250 vehicle (ECF # 246),

1. On December 5, 2019, a Notice was filed by the Receiver to sell a 2018
Lamborghini vehicle (ECF #251).

m. On December 27, 2019, a Notice was filed by the Receiver to sell a 2017 Land
Rover Range Rover vehicle (ECF #260).

n, On January 10, 2020, a Notice was filed by the Receiver to sell a 2015 Porsche 918
vehicle (ECF #264).

o. On January 13, 2020, a Notice was filed by the Receiver to sell a 2018 Cadillac
Escalade (ECF #267).

p. On February 16, 2020, a Notice was filed by the Receiver to sell a 2015 Ferrari 458
Spider Especial vehicle (ECF #276).

q. On March 25, 2020 and April 7, 2020, Notices were filed by the Receiver to sell
various comics (ECF #287 & 288).

r. On April 17, 2020, a Notice was filed by the Receiver to sell jewelry (ECF #289).

s. On May 6, 2020, a Notice was filed by the Receiver to sell additional jewelry (ECF
#294).

t. On May 8, 2020, a Notice was filed by the Receiver to sell timepieces (ECF #296),

u. On May 11 and 12, 2020, Notices were filed by the Receiver to sell fine art and
decorative art (ECF #298 & 299),

v. On May 22, 2020, a Notice was filed by the Receiver to sell other luxury goods
(including handbags) (ECF #300).

w. On May 22, 2020, a Notice was filed by the Receiver to sell further additional
jewelry (ECF #301).

x. On May 26, 2020, a Notice was filed by the Receiver to sell fine art (ECF #302).

6. Since at least June, 2019, counsel for Ms. Merrill and counsel for the Receiver have
communicated regarding Ms. Merrill’s clothing, shoes, and coats, which were seized from 1848
Circle Road, Towson, Maryland.

10. _— By a letter to undersigned counsel dated June 4, 2020, counsel for the Receiver
informed counsel for Ms. Merrill that “we have certain property that was recovered from the Circle
Road and Easton residences.” A list of the items in crates provided by counsel for the Receiver

on June 4, 2020, is attached to this Motion as Exhibit 1.
Case 1:18-cv-02844-RDB Document 318 Filed 07/07/20 Page 7 of 8

11. Ms. Merrill seeks a court order directing the Receiver to (1) release Ms. Merrill’s
shoes, coats, and clothes to her, (2) allow Ms. Merrill with counsel to inspect the contents of the
crates Ex. | and identify which items she wants returned, and (3) deliver at the Receiver’s expense
the items identified in Ex. 1 which are to be returned to Ms. Merrill which it is not feasible in her
discretion for her to pick up from wherever they are stored. Due to their bulk, many of the items
she may want returned identified in Ex, 1, will be difficult for her to economically transport in
bulk at one time to another location.

12. It appears to undersigned counsel that the Receiver and his attorney has faced
significant roadblocks as a result of coronavirus shutdowns to disposing of the remaining clothes
and shoes it is holding belonging to Ms. Merrill. References to other disruptions in the Receiver’s
administration caused by Covid 19 are addressed in its latest report filed on April 30, 2020, ECE
291 at pp. 2 — 4. How long those roadblocks will remain and the state of the market for Ms.
Merrill’s clothing and shoes is uncertain, therefore returning all of them to her immediately is the
best and most efficient course of action under the circumstances. In addition, this Court should
also direct the Receiver by a date certain to make the items identified in Exhibit 1 attached
available to Ms. Merrill and counsel for inspection wherever they are being stored, and direct that
once designated by Ms. Merrill, at her discretion the items to be released will be delivered by the
Receiver’s agent at the Receiver’s expense to an address provided by Ms. Merrill.

A draft order is attached.

Respectfully submitted,

is/

 

Robert W. Biddle (#10761)

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Case 1:18-cv-02844-RDB Document 318 Filed 07/07/20 Page 8 of 8

(410) 783-0272

Counsel for Relief Defendant,

Amanda Merrill
July 7, 2020
Ex. 1 — list of property
Ex. 2 — draft order
CERTIFICATE OF SERVICE

It is on this 7th day of July, 2020, I certify that a copy of this document was served by
ECF notification on all parties’ counsel.

/s/

 

Robert W, Biddle
